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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           *
                                                   *
        v.                                         *            Case No. 21-cr-00175-TJK-3
                                                   *
ZACHARY REHL                                       *

           ZACHARY REHL’S RESPONSE TO BIGGS’ MOTION TO CONTINUE
                 AND MOTION TO ADOPT NORDEAN RESPONSE

        Zachary Rehl, through undersigned counsel, hereby responds to Mr. Biggs’ Motion to

Continue (ECF 403). First, Mr. Rehl agrees with the the substance of the motion – that there has

been extraordinary, inflammatory and unfairly prejudicial publicity focused on the Proud Boys during

the past two weeks. In fact, Mr. Rehl submits below additional examples of the continuing prejudicial

publicity which has filled the airwaves since June 6, when the government belatedly filed its Third

Superseding Indictment.1 Second, Mr. Rehl agrees that such unfairly prejudicial publicity, has

painted the Proud Boys and by extension Mr. Rehl, who did not commit any violence on January 6,

in a horribly negative and inaccurate light. Third, Mr. Rehl agrees that a continuance of the trial date

in light of the unduly prejudicial pretrial publicity is warranted under binding case law.

        However, Mr. Rehl respectfully requests additional time until June 24, 2022, to determine

whether he will join Mr. Biggs’ motion to continue. The additional time is necessary to allow him

time to consult with his counsel. Mr. Rehl’s hesitation in joining Biggs’ Motion to Continue is solely

based on his desire not to prolong the time he spends in pretrial detention.

        Mr. Rehl also respectfully moves to adopt the response filed by Mr. Nordean (ECF 409).




       1
             See Rehl Motion For Leave to Respond to DOJ Press Release (ECF 377).
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                            Additional Unfairly Prejudicial Publicity

       The focus by the Congressional Committee on the Proud Boys has been called “striking” by

CBS’ Congressional correspondent, who has been following the January 6 prosecutions. The Proud

Boys have also been mentioned prominently on various television shows and print reporting. They

have been unfairly labeled a “violent domestic extremist” group and sensational allegations about their

participation on January 6 have been made. Some examples follow:

       A.       January 6 Committee Hearing, June 16, 2022.

       After Mr. Biggs filed his motion on June 16, 2022, while the Court was holding a status

conference in the instant case, the J6 Committee held a hearing. Among other things, one of the

members of the Committee, Congressman Pete Aguilar, read and introduced into the record an

allegation from the Complaint filed against Mr. Pezzola, wherein an unidentified witness has alleged

that sometime “after the events at the Capitol” the witness had a conversation with Pezzola and a

group of other persons. The witness alleged that someone in the group said that “they would have

killed [Vice President] Mike Pence if given the chance.”2 See “8 revelations from Day 3 of the Jan.

6 committee hearings” at https://tinyurl.com/2dtcbcys. This explosive allegation is not cited in the

Third Superseding Indictment in the instant case. Mr. Rehl was not present at the time the statement

was allegedly made.

       A number of articles and twitter comments picked up on this explosive allegation.3


       2
           United States v. Pezzola, No. 21-cr-00052 (ECF 1-1 at ¶ 17).
       3
           The story was carried by multiple other media outlets. See, e.g, NY Times, “Jan. 6
Hearings Day 3: Panel Says Trump Brought Nation to the Verge of a Constitutional Crisis” at
https://www.nytimes.com/live/2022/06/16/us/jan-6-hearings; Washington Post, Opinion Trump’s
pressure campaign on Pence was more vindictive than anyone imagined at
https://tinyurl.com/4apkwcyp; Daily Beast, Informant Told Feds Proud Boys ‘Would Have Killed’

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       B.      Cable and Television Shows

       Face the Nation, (CBS) Sunday, June 12, 2022 at https://tinyurl.com/myc2wptn

               JOHN DICKERSON [host]: One of the other disclosures in the -- in
               the hearings on Thursday night was the role of the Proud Boys, quite
               a lot that -- that was painstakingly put forward.

               Some people have said, well, one of the things you proved is the
               Proud Boys were on the march before President Trump gave his
               speech on January 6. So, if they were already off to march, how could
               President Trump have incited them?

               What's your – what's your response to that comment?

               REPRESENTATIVE ADAM KINZINGER [Republican Committee
               Member]: Well, again, I think what we wanted to do Thursday is
               show the top lines of what happened with some kind of overall things
               to be aware of. More information will come out on that.
               ...

               JOHN DICKERSON: . . .

               Scott, at the end of this -- at the end of the hearing, the chairman,
               Thompson, said something tantalizing about the Proud Boys and the
               administration. What did you make of that?

               SCOTT MACFARLANE4: Absolutely struck by how much time was
               spent Thursday talking about the Proud Boys by this committee.

               The revelation at the end was that the Proud Boys, according to the
               committee, was doing reconnaissance the morning of January 6,
               before President Trump ever spoke, and that they were looking for
               vulnerabilities, places to lead the mob into the Capitol.

               Now, the Justice Department has charged the Proud Boys with
               seditious conspiracy. In fact, they were in court that morning to plead
               not guilty. That the January 6 Committee is so interested in them is


Pence on Jan. 6 at https://tinyurl.com/2w94ycsz
       4
         Mr. MacFarlane is CBS’ Congressional Correspondent, who has been reporting on the
January 6 prosecutions daily.

                                                  3
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         striking. That they were referenced a half-dozen times in the opening
         hearing is striking, because it's clear this committee is going to draw
         some kind of line between the Proud Boys and the organizers of the
         rally, potentially President Trump.

Meet the Press, (NBC) Sunday, June 19, 2020 at https://tinyurl.com/3vk36new

         CHUCK TODD [host]: And joining me now is a member of the
         January 6th select committee, Democratic Congressman Jamie Raskin
         of Maryland. He, of course, was the lead impeachment manager
         during the second impeachment. Congressman Raskin, welcome back
         to Meet the Press.
         ...

         REP. JAMIE RASKIN: . . .You know, we sort of divided up the
         labor. And I'm working on the mobilization of the mob and the
         domestic violent extremist groups, like the Proud Boys, the Oath
         Keepers, the Three Percenters and so on. So that's not a particular
         detail that I've been following.

New Day (CNN), June 16, 2022, weekday news show5

         BERMAN [host]: Again, focusing on some of the new reporting
         overnight, “The Times” reports that Eastman was saying what he
         believed to be happening within the Supreme Court. He was telling
         people he knew what was happening in the Supreme Court with
         regards to one possible case. What are the implications of that?

         RASKIN [Congressman]: Well, I mean, the first thing to understand,
         of course, is that we are only putting things out there that we
         understand to be evidence. And so if there is evidence that he said
         that, we will report that he said that. That doesn't necessarily mean it's
         true. He could have been lying about what he knew on the inside.

         On the other hand, perhaps he had some backchannel connection to
         the Supreme Court, and we want to ferret that out if that's true, to
         determine whether the same people who were establishing a
         backchannel to the Proud Boys, the Oath Keepers, the Three
         Percenters, and the domestic violent extremist movement, also had a
         backchannel somehow to the Supreme Court of the United States of
         America.

5
    Transcript at https://transcripts.cnn.com/show/nday/date/2022-06-16/segment/05

                                             4
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                BERMAN: I’m sorry who was in Trump world establishing a
                backchannel to the Proud Boys and Oath Keepers?

                RASKIN: Well, all of that is to come soon. This is actually the
                hearing that I’m working on is about the relationship between this
                whole effort and the domestic violent extremist groups, and how the
                mob was actually mobilized and put into action.




       C.       New York Times Video.

       On June 17, 2022, the New York Times published a video montage titled “How the Proud

Boys Breached the Capitol On January 6.”6 The 17-minute video begins with Mr. Biggs speaking

into the camera and features Mr. Tarrio, Mr. Biggs, Mr. Pezzola, and other Proud Boys, including

Mr. Rehl, prominently. The montage includes video footage allegedly taken on January 6 as well as



       6
           https://tinyurl.com/ytktwr63

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videos allegedly from earlier Proud Boys rallies in other cities. Throughout the video, a chyron at

the bottom of the screen reads: “A Times investigation of court documents, text messages and

hundreds of videos shows how the Proud Boys coordinated to instigate multiple breaches of the U.S.

Capitol on Jan. 6.”

        D.       Late Night Comedy Shows

        The late night comedy shows not only picked up on the January 6 committee allegations, one

of the shows mocked the idea that the jury pool might be tainted by the unfairly prejudicial coverage

to big laughs from the audience.7

                                            CONCLUSION

                 England, from whom the Western World has largely taken its
                 concepts of individual liberty and of the dignity and worth of every
                 man, has bequeathed to us safeguards for their preservation, the most
                 priceless of which is that of trial by jury. This right has become as
                 much American as it was once the most English. . . . The failure to
                 accord an accused a fair hearing violates even the minimal standards
                 of due process. ‘A fair trial in a fair tribunal is a basic requirement of
                 due process.’ In the ultimate analysis, only the jury can strip a man of
                 his liberty or his life.

Irvin v. Dowd, 366 U.S. 717, 721-22 (1961) (internal citations omitted). Unfortunately, the

inflammatory and unfairly prejudicial publicity that is attending this case so close to trial is reaching

a pervasive “carnival atmosphere” that persuaded the Supreme Court to overturn the murder

conviction in Sheppard v. Maxwell, 384 U.S. 333 (1966).




        7
            The Late Show with Stephen Colbert at https://www.youtube.com/watch?v=ncxCXzYrd0k

                                                     6
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        For Mr. Rehl, a husband and father, who served his country honorably and who did not force

his way into the Capitol, did not destroy or vandalize any property, did not battle law enforcement

or use violence against any other person and did not conspire with anyone to do any of those things,

his continued detention while the media is filled with unfairly prejudicial publicity is disheartening.

It is difficult to see how the broad brush being used to paint him in such an unfair light will not result

in violating his constitutional rights to a fair trial by an impartial jury.

                                                          Respectfully submitted,

                                                          /s/ Carmen D. Hernandez
                                                          Carmen D. Hernandez
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Memorandum was served on all counsel of record via ECF
       th
this 20 day of June, 2022.


                                                          /s/ Carmen D. Hernandez
                                                          Carmen D. Hernandez




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